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                                                                                Sigrid S. McCawley
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                                       March 30, 2020

VIA ECF

The Honorable Loretta A. Preska
District Court Judge
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:    Giuffre v. Maxwell,
              Case No. 15-cv-7433-LAP

Dear Judge Preska,

       Pursuant to the Court’s March 30, 2020 Order, Dkt. 1039, the parties hereby provide the
following dial-in number for the teleconference on March 31, 2020 at 1:00 PM EST:

                            US Toll: +1-719-325-2765
                            US Toll Free: 1-877-211-3621
                            Guest Passcode: 371662


                                           Sincerely,

                                           /s/ Sigrid S. McCawley
                                           Sigrid S. McCawley, Esq.
       cc: Counsel of Record (via ECF)
